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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff,                  CASE NUMBER: 05-80025
                                                  HONORABLE VICTORIA A. ROBERTS
 v.

 D-2 NORMAN DUNCAN,

                 Defendant.
 _________________________________/

                                          ORDER
 I.      INTRODUCTION

         This matter is before the Court on the Government’s motion in limine to exclude

 use and mention of polygraph evidence during trial (Doc. 793).

         The Government’s motion is DENIED in part; the Court RESERVES RULING in

 part.

 II.     BACKGROUND AND ANALYSIS

         On October 26, 2005, Defendant Norman Duncan was indicted in the Eastern

 District of Michigan for his role in a 2001 armed robbery and murder of a guard at the

 Dearborn Federal Credit Union (DFCU), and a 2003 armed robbery of a Comerica Bank

 located at 13400 W. Chicago, Detroit.

         The Government wishes to preclude Defendant from presenting or mentioning

 polygraph evidence during trial, including using the terms “polygraph,” “lie detector test,”

 or any variation thereof. In particular, the Government seeks to preclude evidence of

 polygraph tests taken by Defendant, co-conspirators, and individuals believed to be



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 involved in the crime. The Government also asks the Court to prohibit Defendant from

 questioning witnesses regarding whether or not polygraphs were offered, or

 administered, and the results of those tests.

        The Government concedes that polygraph evidence is not categorically

 inadmissible, but argues that it should be excluded because it is inherently unreliable,

 and because its admission under Rule 702 would require the Court to conduct a

 Daubert evidentiary hearing to assess its reliability, distracting the jury from core issues

 in the case. The Government also argues that any polygraph evidence may not even

 be relevant; it is up to the jury to make credibility determinations. Lastly, the

 Government says that even if polygraph evidence is relevant, it should be excluded

 under Rule 403 because its probative value is substantially outweighed by the risk of

 unfair prejudice.

        Defendant says the Court has discretion to admit evidence of a party’s

 willingness to take a polygraph examination, and that polygraph evidence may be

 admissible if it is relevant to the proof established by the probative evidence. Defendant

 also says that the Court, at a minimum, should make a determination of admissibility on

 a case-by-case basis.

        “Generally, the results of polygraph examinations are inadmissible into evidence.”

 United States v. Barger, 931 F.2d 359, 370 (6th Cir. 1991). The Sixth Circuit has

 repeatedly expressed concerns about polygraph result’s inherent unreliability. Id.

 However, “[i]n limited circumstances, evidence of a party’s willingness to submit to a

 polygraph may, within the discretion of the trial court, become admissible if it is relevant

 at trial.” United States v. Harris, 9 F.3d 493, 501 (6th Cir. 1993) (citing Wolfel v.

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 Holbrook, 823 F.2d 970, 972 (6th Cir. 1987)).

        The court may admit polygraph evidence if: (1) it is relevant; and (2) its probative

 value outweighs the risk of unfair prejudice. Wolfel, 823 F.2d at 972.

        Here, certain co-conspirators agreed to cooperate with the Government and to

 testify at trial in exchange for the Government’s recommendation for reduced

 sentences. Certain witnesses entered into Rule 11 Plea Agreements with the

 Government which require, as a condition of the plea, that they give truthful testimony,

 and submit to a government-administered polygraph examination upon request in order

 to verify their truthful cooperation.

        The Court believes that if the Government introduces the Rule 11 Plea

 Agreements into evidence at trial, Defendant should have the ability to cross examine

 witnesses on all portions of the agreements, including provisions relating to polygraph

 examinations. By introducing the Rule 11 Plea Agreements, the Government opens the

 door to cross-examination on their contents. If Defendant is prohibited from cross-

 examining a witness regarding a polygraph, the jury might be left with the mistaken

 impression that the witness took a polygraph and passed. Defendant must be allowed

 to impeach the witness’s credibility by demonstrating that the witness did not take a

 polygraph. The polygraph is relevant; it goes to credibility, and its probative value

 outweighs the risk of unfair prejudice. Whether a witness took a polygraph or not, does

 not implicate concerns over the inherent unreliability of test results.

        Defendant does not provide the names of individuals who took or offered to take

 polygraph tests, nor does he allege any permissible purpose to admit polygraph

 evidence. And, the Government merely provides the Court a list of individuals who

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 were polygraphed by the F.B.I. The Court is unable to determine in a vacuum whether

 any additional polygraph evidence is admissible. The Court does not have information

 about any polygraph tests that were administered; the context in which they were

 administered; or, any other information regarding their relevancy and reliability. Without

 the details–and the purpose for which Defendant seeks to admit polygraph

 evidence–the Court cannot rule on their admissibility.

 III.    CONCLUSION

         The Government’s motion is DENIED in part. Defendant may ask witnesses

 whether they submitted to polygraph examinations if their Rule 11 Agreements are

 admitted into evidence. The Court RESERVES RULING on the admissibility of

 polygraph evidence in any other context.

         IT IS ORDERED.


                                                    s/Victoria A. Roberts
                                                    Victoria A. Roberts
                                                    United States District Judge

 Dated: December 28, 2011

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  December 28, 2011.

  s/Linda Vertriest
  Deputy Clerk




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